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         EXHIBIT 1
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

WINC, INC., et al.,                                          Case No.: 22-11238 (LSS)

                           Debtors. 1                        (Jointly Administered)


                   DECLARATION OF JEFFREY R. MANNING, SR.
                    IN SUPPORT OF OFFICIAL COMMITTEE OF
               UNSECURED CREDITORS’ OBJECTION TO (A) DEBTORS’
            MOTION FOR ENTRY OF AN ORDER (I) APPROVING STALKING
           HORSE PURCHASE AGREEMENT AND (II) AUTHORIZING A SALE
             FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES
                  AND OTHER INTERESTS AND (B) APPLICATION
          TO RETAIN CANACCORD GENUITY, LLC AS INVESTMENT BANKER

          I, Jeffrey R. Manning, Sr., pursuant to 28 U.S.C. § 1746, hereby declare as follows:

          1.        I am a Managing Director with CohnReznick Capital Markets Securities, LLC

(“CRC”), the affiliated Financial Industry Regulatory Authority, Inc. (“FINRA”) licensed

investment bank of CohnReznick, LLP. CRC and CohnReznick, LLP are the proposed financial

advisers for the Official Committee of Unsecured Creditors (the “Committee”) of Winc, Inc. and

its debtor affiliates (the “Debtors”) in the above-captioned Chapter 11 cases (the “Chapter 11

Cases”). Unless otherwise stated in this Declaration, I have personal knowledge of the facts set

forth herein. The statements made herein are true and correct to the best of my knowledge and

belief.

          2.        I submit this Declaration in support of the Committee’s Objection to (A) Debtors’

Motion for Entry of an Order (I) Approving Stalking Horse Purchase Agreement and (II)


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing address
for purposes of these chapter 11 cases is 1751 Berkeley Street, Studio 3, Santa Monica, CA 90404.



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Authorizing a Sale Free and Clear of All Liens, Claims, Encumbrances, and Other Interests, and

(B) Application to Retain Canaccord Genuity, LLC as Investment Banker (the “Objection”).2

          I.        Background and Qualifications

          3.        I have worked in the corporate recovery field for 40 years, developing substantial

experience and expertise in the areas of investment banking, operating restructuring, value

investing, loan workouts, and loan trading. My CV is attached hereto as Exhibit A.

          4.        I hold an undergraduate degree in economics and political science from Yale

University and a Master of Business Administration degree from Columbia University School of

Business.

          5.        After college in August of 1981, I joined Manufacturers Hanover Trust Co.

(“MHT”) in the credit training program and took a position in the Corporate Banking Division. In

the spring of 1983, I was one of twelve young bankers selected for a prestigious program to earn

my MBA at Columbia University’s School of Business attending summers on a full scholarship

from MHT. Returning that fall I moved into the Special Loan Department at MHT, where I was

part of a team of 25 that managed the nonperforming and underperforming portfolio of the bank,

usually working with other lenders and lawyers to negotiation a plan of reorganization. During

that time I unwound the first derivative interest rate swap in a chapter 11 bankruptcy. Since that

time, I have been employed by top-tier financial advisory firms in a number of roles, ranging from

analyst to executive.

          6.        Following my time at MHT I was employed as an EVP Analyst by Dun &

Bradstreet Corporation (“D&B”). While D&B is best known for its credit information and

solutions for companies, it was also a conglomerate with 36 operating divisions. When D&B sold



2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.

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the Official Airlines Guide for a gain of $750+ million, my main focus was on designing and

implementing “offset” programs to reinvest that gain into the operating businesses. Duties

included downsizing headcount, disposing redundant real estate, implementing retraining

programs, and closing nonperforming product lines. Over my time at D&B I implemented a total

of $392 million of restructuring actions.

        7.          From 1992 to 1996 I was a Bank Debt Trader with three successive FINRA firms

– SN Phelps & Co, BDS Securities, and Schroder Wertheim & Co. My duties at the time consisted

of speaking with various workout officers about non-performing loans, analyzing the intrinsic

value of those assets, and finding buyers for those loans in the secondary market. The industry

was in a nascent stage then, but it has grown substantially.

        8.          From 1996 through 1999, I served as a Managing Director of Rodman & Renshaw

(“R&R”). I also served as a member of the R&R executive committee. At the time, R&R was an

investment bank and broker-dealer focusing on emergent and high-growth industries, with a line

of business in special situations. In these capacities, my primary responsibilities were to work

with R&R’s parent, Abaco Casa de Bolsa on a good bank/bad bank strategy for Confia SA de CV

(“Confia”), with $3.6 billion on nonperforming loans that were eventually transferred to Fobaproa.

Confia was acquired by Citibank in 1998.

        9.          From 1999 to 2003, I worked as Managing Director and Head of the Special

Situations Group at Legg Mason Wood Walker Incorporated. At the time, Legg Mason Wood

Walker Incorporated was an investment bank and asset management firm. While there, in addition

to executing several private placement with healthy companies, I worked with multiple companies

operating at, near, in, or emerging from bankruptcy.




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        10.         From 2003 to 2007, I served as the Chief Executive Officer and Senior Managing

Director at FTI Capital Advisors, LLC.           FTI Capital Advisors, LLC is the wholly-owned

investment bank subsidiary of FTI Consulting, Inc., one of the world’s largest and most respected

financial and restructuring consulting firms. As CEO and Senior Managing Director, I was

responsible for supporting and working in tandem with the consulting team of FTI Consulting,

Inc., advising companies at, near, in, or emerging from bankruptcy. From 2007 to 2014, I worked

as a Managing Director and Special Situations Group Head at BDO Capital Advisors, LLC, an

investment bank affiliate of BDO Group (“BDO”), another of the world’s largest financial

advisory firms. In this capacity, I was supporting and working in tandem with the consulting team

of BDO advising companies at, near, in, or emerging from bankruptcy.

        11.         In 2014, I became a Managing Director at CRC. In my current role, I support and

work in tandem with the consulting team of CohnReznick advising companies, stakeholders and

official committees of unsecured creditors in both in-court and out-of-court restructurings and

related transactions.

        12.         I hold the designation of Certified Turnaround Professional from the Turnaround

Management Association, which has appointed me a Subject Matter Expert in two corporate

recovery areas: (i) valuation in bankruptcy, and (ii) sales under § 363 of the Bankruptcy Code. I

am also a Board member of the Chesapeake Chapter of the Turnaround Management Association,

Inc.

        13.         I hold the following FINRA licenses required of investment banking professionals:

(i) Series 7 – General Securities Representative; (ii) Series 63 – Uniform Securities Agent State

Law; (iii) Series 24 – General Securities Principal; and (iv) Series 79 – Investment Banking




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Representative.3 To the best of my knowledge, fewer than 20 professionals in the United States

have both a Certified Turnaround Professional designation and a FINRA Series 24 license.

           14.      Over the course of my career, I have completed more than 150 professional

engagements, executing over 25 sales under §363 for debtors, advising dozens of official

committees of unsecured creditors and other stakeholders, and providing expert testimony on

matters such as evaluating an appropriate sales process and investment banking fees in chapter 11.

Some of these cases include: Revlon, Inc., in the Southern District of New York (No. 22-10760

(DSJ)); Mallinckrodt plc, et al., in the District of Delaware (Case No. 20-12522 (JTD)); CPES,

Inc. & Novelles Development Services, Inc; in the Central District of California – Northern

Division (Lead Case No. 9:20-bk-10554-DS; and Garces Restaurant Group, in the District of New

Jersey (Camden) ((Case No.: 18-19054 (JNP). In general, over the course of these professional

engagements, I primarily provide advice in situations operating at, near, or in Chapter 11

bankruptcy. I have provided expert testimony in United States Bankruptcy Court cases in over

sixteen judicial districts, as shown on Exhibit B attached hereto.

           15.      I frequently speak at industry and university events, including lecturing at

Columbia University School of Business, the Wharton School of the University of Pennsylvania,

the University of Virginia Darden School of Business, and other institutions. The subject matter

of these lectures is typically the role of the investment banker in special situations, the full list of

my industry speaking engagements is voluminous and available upon request. A list of articles

that I have authored or co-authored is attached hereto as Exhibit D.




3
    Because of my years of experience, I was “grandfathered in” to the Series 79 license.

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         II.        Sources Reviewed

         16.        In preparing this Declaration, I reviewed transactional documents, financial

information, pleadings filed in the Chapter 11 Cases and other information concerning the business

operations, performance, and financial condition of the Debtors provided to me in connection with

CRC’s engagement in the Chapter 11 Cases, as well as Canaccord’s retention terms in other

chapter 11 cases. Certain of the documents were accessed via a data room provided by the Debtors’

proposed investment banker, Canaccord Genuity, LLC (“Canaccord”), a data room provided by

the Debtors’ counsel, Young Conaway Stargatt & Taylor, LLP (“YCST”), or from the Debtors’

financial advisors, RPA Asset Management Services, LLC (“RPM”). I reviewed and relied upon

several documents in preparing this Declaration that can be found on Exhibit C.

         17.        I reserve the right to amend this Declaration based on additional materials that I

might review, including materials that have not yet been made available for review.

         III.       Description of Sale Process

         18.        According to the Declaration of Carol Brault in Support of Chapter 11 Petitions and

First Day Pleadings [ECF No. 15] (the “Brault Declaration”), the Debtors first retained Canaccord

in March 2022 to “explore a potential sale of the Debtors’ assets” and Canaccord developed “an

initial list of approximately forty-five (45) strategic and financial prospective purchasers” and

circulated a “teaser” to this list.4 Twenty (20) of these parties executed non-disclosure agreements.

Canaccord received at least four written indications of interest but ultimately decided to focus on

the offer from Project Crush Acquisition Corp LLC (the “Stalking Horse Bidder”). It is my




4
  Canaccord initially produced a target list substantially larger than 45 names, but for reasons undeterminable did not
reach out to the larger universe of approximately 84 strategic and alcohol beverage buyers and approximately 80
potentially interested financial sponsors.

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understanding that the Stalking Horse Bidder is organized and controlled by one of the Debtors’

founders and former insiders.

        IV.         Concerns about the Sale Process and Alternative Sources of Value

        19.         The Debtors’ prepetition marketing process, considered together with publicly

available information regarding the Debtors’ assets, raised serious concerns that the proposed sale

to the Stalking Horse Bidder is not returning fair market value to the estates. When the process

commenced in the spring of 2022, the Debtors had a public market cap in excess of $50.0 million.

Their 10-Q for the third quarter, filed in November 2022 shortly before the Petition Date, reported

assets in excess of $50 million, including more than $16 million in finished inventory, as well as

rights to valuable wine brands and other intellectual property. The Debtors also had prepayments

and deposits of more than $3 million, accounts receivable of more than $3 million, as well as

potential litigation claims. According to the Brault Declaration, when the Debtors entered Chapter

11 less than two months ago, they had approximately $3.4 million in secured debt.

        20.         Despite these favorable optics, the Debtors propose to sell substantially all of their

assets for only $11,000,000, seeking approval of transactions that appear to leave the estates

administratively insolvent and unable to fund a process to plan confirmation. Based on the

Debtors’ disclosed assets, pre- and post-petition interest in those assets by multiple parties, and

other information disclosed to the Committee, CohnReznick’s preliminary analysis is that a

liquidation would result in a superior outcome than the $11.0 million ($11,000,000), even before

potential litigation claims.

        21.         The depressed sale price appears to have been driven in significant part by a flawed

marketing process in which potentially interested parties were either not contacted or were not

given sufficient time to evaluate a 363 sale in the Chapter 11 Cases. For starters, the proposed



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investment banking engagement did not provide normal market incentives for maximizing value,

as Canaccord would have needed to find a buyer willing to pay more than 10 times the offer of the

Stalking Horse Bidder to trigger an increase in compensation.

        22.         Further, the Stalking Horse Bidder initially proposed an out-of-court stock purchase

agreement. However, the day before Thanksgiving, the Stalking Horse Bidder informed the

Debtors that it intended to consummate the transaction through an in-court process under Section

363 of the Bankruptcy Code. The Debtors filed for protection under Chapter 11 of the Bankruptcy

Code on November 30, 2022. As part of the Chapter 11 Cases, the Stalking Horse Bidder also

made a debtor-in-possession secured loan to the Debtors, putting it pari passu with the Debtors’

prepetition lender Banc of California as first among the Debtors’ secured creditors and ahead of

unsecured creditors.

        23.         On December 7, 2022, the Debtors filed their Motion for Entry of (A) An Order (I)

Approving Bidding Procedures in Connection with the Sale of the Debtors’ Assets and Related

Bid Protections, (II) Approving Form and Manner of Notice, (III) Scheduling Auction and Sale

Hearing, (IV) Authorizing Procedures Governing Assumption and Assignment of Certain

Contracts and Unexpired Leases, and (V) Granting Related Relief; and (B) An Order (I) Approving

Purchase Agreements, and (II) Authorizing a Sale Free and Clear of All Liens, Claims,

Encumbrances, and Other Interests (the “Sale Motion”) [ECF No. 47]. The Sale Motion initially

contemplated a hybrid asset and stock purchase structure, in which the Stalking Horse Bidder

would acquire the equity of Debtor BWSC and the assets Debtors Winc and Lost Poet.                  The

Debtors then informed the Committee and the Court that rather than a stock purchase agreement,

the Stalking Horse Bidder had revised the terms of the sale to be solely an asset purchase according

to the Stalking Horse APA. Following the Committee’s filing of an objection to the proposed bid



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procedures and other relief, the Stalking Horse Bid increased the consideration to $11.0 million

($11,000,000) for the Debtors’ estates, while making other adjustments to the proposed Asset

Purchase Agreement.

        24.         The court approved the bid procedures with certain adjustments on December 22,

2022. The timeline provided for in the Sale Motion meant that the Debtors had less than three

weeks from the date that the bid procedures were approved to uncover competing bids. This

uncommonly short marketing period coincided with the holiday season, a reality that likely chilled

potential bidding.        It appears that Canaccord’s post-petition marketing process consisted

predominantly of re-engaging with entities that it previously reached out to prior to filing the

Chapter 11 Cases, and it appears that Canaccord only reached out to five new parties. This

approach was entirely inconsistent with best practices marketing assets under a 363 sale process

and is difficult to reconcile with the fact that Canaccord initially identified over 160 potentially

interested parties at the outset of its prepetition engagement. Canaccord failed to reach out to over

120 of these parties at any point, whether pre- or post-petition, despite the clear goal of any

investment banker designated by the court to run a §363 to broadly market the assets to other

potential bidders.

        25.         On December 16, 2022, the Debtors filed the Canaccord Application.          The

Canaccord Application seeks to retain Canaccord as investment banker pursuant to the following

compensation terms: (i) monthly fees of $100,000 each month, with any monthly fees after the

third month being credited against any Transaction Fee, and (ii) “Transaction Fee” equal to the

greater of (a) $2.0 million ($2,000,000) or (b) 2.0% of total consideration upon any sale.

        26.         On the morning of January 9, 2023, the Committee’s professionals were notified

that the Debtors were engaged with several active participants over the weekend who were still



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considering making competing bids against the Stalking Horse Bid. However, shortly after 5:00

p.m. on the same day, the Committee was informed that no Qualified Bids were received and the

Auction had been canceled, meaning that the Sale Motion would be seeking approval of the

Stalking Horse Bid.

                    V.     Analysis of Stalking Horse Bid and Canaccord Application

        27.         Based on the consideration to be provided by the Stalking Horse Bid, an analysis

of the Debtors’ liabilities and the budgets attached to their DIP Financing Orders, approving the

Canaccord Application as currently drafted will result in administrative insolvency for the Chapter

11 Cases unless the consideration of the Stalking Horse Bid is materially increased and/or the

Canaccord fee is materially reduced. Based on the information provided to date, the Debtors’

estates will not have funds to pay Canaccord’s $2.0 million ($2,000,000) minimum Transaction

Fee and also ensure an administratively solvent estate that is capable of proposing a plan. It

remains to be seen whether the Debtors will even be able to pay the entirety of their professional

fees (let alone other administrative expenses), which is substantial given the size of this case, with

the Stalking Horse Bid and the Canaccord Application as it is currently drafted.

        28.         Furthermore, Canaccord’s 18.2% of consideration of the proposed Transaction Fee

is far above market. For a deal of this size, the investment banking market-rate transaction fee

would normally be 2.0-3.0% of total consideration. This percentage is consistent with Canaccord’s

own transaction fees listed in its retention application and agreed to in several prior cases. Of the

District of Delaware cases that I reviewed where Canaccord was retained, Canaccord never

requested an award for a transaction fee higher than 7.0% of total consideration, which was in fact

not awarded, and most of transaction fees were 5.0% or below of total consideration before

crediting monthly transaction fees. The requested amount of the Transaction Fee is astonishingly



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high in light of the fact that Canaccord’s $100,000 monthly fees are also far above their monthly

rates in their other previous Delaware cases, which typically ranged from $35,000 to $50,000 per

month. In most previous Canaccord engagements that I reviewed, Canaccord also credited 50%

of its monthly fees towards any payable transaction fee. All of this data points to the conclusion

that the requested Transaction Fee, while potentially available from a transaction outside of

bankruptcy court with materially higher consideration than the $11.0 million ($11,000,000)

Stalking Horse, the terms of the Canaccord Application in the Chapter 11 Cases are far from

industry standard and also inconsistent with Canaccord’s previous retention terms in Bankruptcy

Court engagements in the District of Delaware. Based on my reading of Canaccord’s Engagement

Letter, the term “Aggregate Consideration,” which is used to measure the percentage of

Canaccord’s Transaction Fee, does not include trade liabilities. The inclusion of assumption of

trade liabilities in a transaction fee calculation would be not market and outside of industry norms.

        29.         Based upon over 30 years as a FINRA licensed investment banker with a significant

focus and experience in Federal Bankruptcy Court, Canaccord’s transaction fee should not be

construed to be based on the effort that Canaccord expended, pre or post-petition, or the amount

of hours that it put into any engagement.5 Investment bankers should be compensated based upon

the value created during the transaction, i.e., a higher price equates to a higher fee. This principle

is reflected by the very toggle built into Canaccord’s proposed Transaction Fee: the greater of $2.0

million ($2,000,000), or 2.0% of total consideration. Total consideration would need to be over

$100.0 million ($100,000,000) in order for the 2.0% transaction fee to exceed the $2.0 million

($2,000,000) minimum floor. Clearly, the Stalking Horse Bid’s $11.0 million ($11,000,000) does




5
 Canaccord collected $250,000 in fees for its pre-petition efforts, see further Canaccord Retention Application
Exhibit 1, p.13 (Doc 67)

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not represent the kind of value creation that would justify a $2.0 million ($2,000,000) transaction

fee in any scenario, in or out-of-court.

        30.         The Debtors should withdraw the Canaccord Application leaving Canaccord with

a general unsecured claim for any potential Transaction Fee. Such a result is consistent with the

practical reality that the Debtor is seeking to compensate Canaccord for prepetition work that led

to the Debtors’ selection of the former founder and insider the Stalking Horse Bidder as the buyer

in connection with a prepetition out-of-court sale process.

                                                              /s/ Jeffrey R. Manning, Sr.
                                                              Jeffrey R. Manning, Sr.




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                                         Exhibit A – Manning CV Highlights
        CohnReznick Capital Market Securities, LLC                                                                   Baltimore, MD
        Managing Director, 2015 to present. Head of special situations practice at CohnReznick Capital, the affiliated investment
        bank of CohnReznick, LLP. This FINRA member firm has a premier practice and focus on renewable energy. CohnReznick
        has a material restructuring practice as well. The special situations practice focuses on out-of-favor or storied companies,
        often operating at, near, or in bankruptcy. Emphasis on §363 sales, valuation of bankrupt companies, and private placements.

        BDO Capital Advisors, LLC                                                         Costa Mesa, CA and New York, NY
        Managing Director, 2007 to 2015. Head of special situations practice at BDO Capital (f/k/a Trenwith Group), the wholly-
        owned investment bank of BDO USA LLP. Emphasis on §363 sales, valuation of bankrupt companies, and private
        placements. Member of Investment Banking Executive and Engagement Committee.

        FTI Capital Advisors, LLC                                                                               Washington, DC
        Chief Executive Officer, 2003 to 2007. Chief Executive Officer, Supervisory Principal, and Senior Managing Director of the
        wholly-owned investment bank of FTI Consulting, Inc. While based in DC, recruited eight senior bankers in New York, DC,
        Dallas, San Francisco, and Los Angeles. FTICA positioned itself as a boutique investment bank with capabilities in private
        placements, M&A Advisory, and strategic alternatives for healthy companies and special situations.

        Legg Mason Wood Walker, Incorporated                                                                   Baltimore, MD
        Managing Director, 1999 to 2003. Head of special situation practice and executed private placements for Legg Mason, a
        NYSE financial institution with middle market focus. Member of the Fairness Opinion Committee.

        Rodman & Renshaw, Inc.                                                                                   New York, NY
        Managing Director, 1996 to 1999. Focus on distressed debt, Mexican cross-border, and private placements. Primary duties
        included structuring and marketing private placements, developing Mexican “Good Bank/Bad Bank” strategy for Confia, S.A.,
        and marketing and trading fixed income, distressed securities, and special situation private paper. Member of Executive,
        Commitment, and Investment Committees.

        Schroder Wertheim & Co., Incorporated                                                                     New York, NY
        Senior Vice President, Global Bank Debt, 1994 to 1995. Started distressed debt-trading operation for Schroder Wertheim, a
        subsidiary of Schroder Plc. Duties included creating trading protocol, recruiting team, and sourcing product in the United
        Kingdom and mainland Europe. Started trading bank debt at S.N. Phelps & Co. in 1992.

        The Dun & Bradstreet Corporation                                                                                 New York, NY
        Assistant Vice President, and various assignments from 1987 to 1992. Duties included designing and implementing over $392
        million in operating restructuring actions; and providing finance support for strategic alliance negotiations with key European
        and US partners associated with mergers, acquisitions, and divestitures.

        Manufacturer Hanover Trust Company                                                                     New York, NY
        Assistant Vice President, and various assignments from 1981 to 1987. After completing the MHT Credit Training program,
        primary duties included loan workout and calling officer for large corporate accounts.




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                     Exhibit B Expert Witness & Testimony Experience

In re: CPES, Inc. & Novelles Development Services, Inc.: Prepared Expert Report on sales
process, valuation, overcoming sales and fee objections before the Hon. Deborah J. Saltzman in
the Central District of California – Northern Division, Lead Case No. 9:20-bk-10554-DS.

2019 In re: MBF Inspection Services, Inc.: Prepared Expert Report on Flash Valuation for the
U.S. Bankruptcy Court, District of New Mexico, before the Hon. David T. Thuma, Case No. 18-
11579.

2018 Garces Restaurant Group, et.al.: Extensive direct testimony and cross examination on
four occasions regarding pre-petition marketing efforts, impact of potential motion to dismiss,
post-petition sales process, and investment banking fees between §328 and §330 professionals in
the US Bankruptcy Court, District of New Jersey (Canton) before the Hon. Jerrold N. Poslusny,
Jr.

2017 Folts Home and Folts Adult Home, Inc.: Testimony on investment banking sales process
in the US Bankruptcy Court, Northern District of New York before the Hon. Diane Davis.

2017 Hi-Temp Specialty Metals, Inc.: Deposition as fact witness in adversarial proceeding
relating to chapter 11 filing in the US Bankruptcy Court, Eastern District of New York before the
Hon. Louis A. Scarcella.

2016 Jamieson Ranch Vineyards: Deposition as fact witness in adversarial proceeding relating
to a Cayman Island court directed liquidation of a Napa Valley vineyard.

2015 SkyMall, et. al.: Testimony on investment banking sales process in the US Bankruptcy
Court, District of Arizona before the Hon. Brenda K. Martin.

2013 Greek Peak Mountain Resort, Inc.: Testimony on investment banking sales process in the
US Bankruptcy Court, Northern District of New York before the Hon. Margaret Cangilos-Ruiz.

2012 Reddy Ice Holdings, Inc.: Expert testimony on solvency, valuation, and motion for an
equity committee in the US Bankruptcy Court, Northern District of Texas before the Hon. Stacey
Jernigan, including a Declaration and Flash Valuation, Dallas, TX.

2012 Beyond Oblivion, Inc.: Testimony on investment banking sales process in the US
Bankruptcy Court, Southern District of Manhattan before the Hon. Allen L. Gropper.

2011 Nutrition 21, Inc. et.al.: Testimony on sales process and valuation in the US Bankruptcy
Court, Southern District of Manhattan (White Plains) before the Hon. Robert D. Drain.

2011 Polarome International, LLC: Expert witness deposition on sales process and valuation
in the US Bankruptcy Court, Chapter 7, District of New Jersey before the Hon. Rosemary
Gambardella.



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2011 WUWUL, LLC (d/b/a WordWorld): Testimony on sales process and valuation in the US
Bankruptcy Court, Southern District of Manhattan before the Hon. Sean H. Lane.

2011 Greektown Holdings, LLC: Prepared expert report on Investment Banking Fees on this
case filed in the Eastern District of Michigan, Southern Division. Settled in 2013.

2010 Erickson Retirement Communities, LLC: Prepared expert report on valuation
methodologies used on this case in the Northern District of Texas. Matter settled.

2010 Questex Media Group: Testimony on Investment Banking fees the US Bankruptcy Court
before the Hon. Kevin J. Carey, US Chief Bankruptcy Judge in Delaware.

2009 Cardiac Management Systems: Testimony on Investment Banking fees, sales process, and
carve-outs in the US Bankruptcy Court, Southern District of Florida, before the Hon. Laurel M.
Isicoff, Miami, FL.

2009 Lang Holdings, Inc. et.al.: Direct testimony on Investment Banking fees at Omnibus
Hearing before the Hon. Kevin J. Carey, US Chief Bankruptcy Judge in Delaware -- Appeared as
expert witness for the Official Committee of Unsecured Creditors in adversarial proceeding
regarding investment banking fees.

2009 Dial-A-Mattress Operating Corp., et.al.: Extensive direct testimony on auction process
and criteria to determine “highest and best” in the US Bankruptcy Court, plus testimony on
investment banking fees, Eastern District of New York, before the Hon. Denis E. Milton,
Brooklyn, NY.

2008 Cardiac Management Systems: Testimony on process, valuation, and collection of fees in
the US Bankruptcy Court, Southern District of Florida, before the Hon. Laurel M. Isicoff, Miami,
FL.

2006 Life Partners Holding, Inc: Testimony on process, valuation, and collection of fees in
American Arbitration Association on Mammoth Life, LLC matter, Dallas, TX.

2005 Environmental Elements Corporation: Expert testimony on process, valuation, and break
fees in the US Bankruptcy Court, District of Maryland, before the Hon. Duncan W. Keir, Chief
Judge, Baltimore, MD.

2004 Corban Communications, Inc., et.al.: Expert testimony on process, valuation, and long-
term contracts in the US Bankruptcy Court, Northern District of Texas, before the Hon. Chief
Judge Steven A. Felsenthal, Dallas, TX.

2004 Duty Free Americas, Inc. v. Legg Mason, Inc.: Deposed as witness relating to $115 million
bond default. Matter settled.

2004 Mosaic Inforce CP Holdco, Inc. et.al. v Information Resources, Inc.: Provided expert
testimony and report pursuant to the review of certain expert reports examining four issues: 1)

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impact of a sale of assets under §363 on a right of first refusal (“ROFR”); 2) issues surrounding a
ROFR and the alleged right to acquire only 2%; 3) adequacy of due diligence by JLL Partners, LP
(“JLL”); and 4) valuation within the context of a competitive process.

2003 Seitel, Inc.: Deposition and expert testimony on valuation in the US Bankruptcy Court,
District of Delaware, before the Hon. Peter J. Walsh, Wilmington, DL.

2003 Genaissance Pharmaceuticals, Inc.: Proffered testimony in the US Bankruptcy Court,
District of Northern California before the Hon. Randall J. Newsome, Oakland, CA.

2003 Cannondale Corporation: Extensive direct testimony, adversary cross-examination, offer
of proof, and proffered testimony in the US Bankruptcy Court, District of Connecticut, Bridgeport
Division, before the Hon. Alan H.W. Shiff, Bridgeport, CT.

2002-2003 Devon Mobile Communications, LP: Direct testimony and proffered testimony in
the US Bankruptcy Court, District of Delaware, before the Hon. Peter J. Walsh, Wilmington, DL.

2002-2003 Standard Automotive Corporation, Inc.: Extensive direct testimony, adversary
cross-examination, offer of proof, and proffered testimony in the US Bankruptcy Court, Southern
District of New York, before the Hon. Cornelius Blackshear, New York, NY.

2002-2003 Beverage Canners International Corporation: Extensive direct testimony,
adversary cross-examination, and proffered testimony in the US Bankruptcy Court, Southern
District of Florida, before the Hon. Chief Judge Robert A. Mark, Miami, FL.

1996-1997 Confia SA de CV: Direct testimony at Banco de México before the Dra. Patricia
Armendariz de Iniestrosa, Vice-presidente of Comision Nacional Bancaria y de Valorz, México
D.F., Estado de México.




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                                   EXHIBIT C – Resource Documents

                                       Includes but not limited to:

            Application for Retention of Canaccord Genuity LLC as Investment Banker (Doc 67)

            Filing of Exhibit A (Doc 90)

            Project CRUSH Discussion Materials dated May 10, 2022 (YCST Data Room)

            Project CRUSH Process Tracker dated November 23, 2022 (YCST Data Room)

            Winc 363 Process Tracker dated December 17, 2022 (YCST Data Room)

            Winc 363 Process Tracker dated December 30, 2022 (YCST Data Room)




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                         EXHIBIT D -- Published By-Line Articles

“Will PG&E be forced to turn to PPAs to get a bankruptcy exit plan confirmed?,” with
      collaboration from Steven Wilamowksy, Partner, Schiff Hardin, Utility Dive, March 31,
      2020, Washington, DC.

“How renewable energy providers can prepare for PG&E's bankruptcy,” Utility Dive, February
     15, 2019, Washington, DC.

“Snapshots -- A Good Sport: feature interview with Jeffrey R. Manning, CTP,” The Journal of
Corporate Renewal, September 2017, Chicago, IL. https://turnaround.org/jcr/2017/09/jeffrey-r-
manning-ctp-good-sport

“What to Do When Your Bank Says No—Financing Alternatives for the Middle Market,” Chief
     Executive Networks, Mid-Market CEO Briefing, © 2015, ChiefExecutive.net, Chief
     Executive Magazine, May 27, 2015, Greenwich, CT.

“Riding the Healthcare Wave,” guest editor, The Journal of Corporate Renewal, Turnaround
       Management Association, Chicago, IL, vo. 32, no. 6, © Jul/Aug 2014.

“Reengineering the Healthcare Turnaround Process,” guest editor, The Journal of Corporate
      Renewal, Turnaround Management Association, Chicago, IL, vo. 26, no. 6, © Jul/Aug
      2013.

“Restructuring Soft Asset Companies,” guest editor, The Journal of Corporate Renewal,
      Turnaround Management Association, Chicago, IL, vo. 25, no. 9, © Nov/Dec 2012.

“Government Cuts Could Hurt SNFs,” article co-authored with Gerald Shapiro, BDO Corporate
      Advisors, published in PE Hub, Thomas Reuters, New York, NY, © March 27, 2012.

“Skilled Nursing Facilities Bracing for Another Tough Year,” article co-authored with Gerald
       Shapiro, BDO Corporate Advisors, published in The ABI Journal, Xander Media Group,
       Inc., Wayne, PA, © January/February 2012.

“Viewpoint: Beware of Consultants Bearing Unlicensed Bankers,” column co-authored with
      Jeffrey T. Varsalone, JD published in the Daily Bankruptcy Review, Dow Jones &
      Company, Inc., Princeton, NJ, © July 13, 2011.

“Miles to Go” commentary for The Deal Pipeline, published by The Deal, LLC, New York, NY,
       © April 2011.

“Middle Market Enters the Realm of the Recovery Profession” Viewpoint, Daily Bankruptcy
      Review, published by Dow Jones & Company, Princeton, NJ, © March 23, 2011.



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“2011 Middle Market Forecast” M&A Chicago: Journal for Middle Market M&A Professionals,
      published by Bauer Rock Media Group, Chicago, IL, © February 22, 2011.

“Saving the Brand, How Retailers Avoid Liquidation” article co-authored with Jay Indyke, Esq.
       Partner, Cooley Godward Kronish, The ABI Journal, published by Xander Media Group,
       Inc., Wayne, PA, © November 2010.

“A Fresh Look into the Zone of Insolvency,” article co-authored with Gerard S. Catalanello, Partner
       Duane Morris LLP in The Journal of Corporate Renewal, published by Turnaround
       Management Association, Chicago, IL, © September/October 2009.

“The Changing Landscape of the Restructuring Industry,” The Secured Lender Journal, published
      by Turnaround Management Association, Chicago, IL, © November/December 2008.

“Saving Technology & Service Companies from Chapter 11,” chapter in Inside the Minds: The
       Industries Most at Risk in Bankruptcy, published by Aspatore Books, a Thomson Business
       Publisher of C-Level Business & Legal Intelligence, Boston, MA, © 2008.

“Private Matters,” column on the current status of going private initiative, The Deal, published by
       The Deal LLC, New York, NY, © February 25, 2008.

“The Perils of the One-Stop Financing Shop,” High Yield Report, SourceMedia, Inc., New York,
      NY, © September 10, 2007.

“The Allure of a Going-Private Transaction,” co-author Eric J. Gier of Trenwith Group,
      Washington CEO Magazine, Seattle, WA, © May 2007.
“The Current State of the Fairness Opinion,” American Bankruptcy Institute Journal, vol. XXIV,
      No. 7, Alexandria, VA, © September 2005.

“Sarbanes-Oxley Prompts More Firms to Go Private,” co-authored with Fred S. Stoval, Esq. of
      Patton Boggs, The National Law Journal, New York, NY, © May 24, 2005.

“Viewpoint: Long Live the New King,” column on the development of private capital funds
      published in the Daily Bankruptcy Review Small Cap, Dow Jones & Company, Inc.,
      Princeton, NJ, © January 12, 2005.

“The Appeal of the Deal,” co-authored with Howard J. Loewenberg, Chief Executive Officer, SPG
      Media Ltd, London, United Kingdom, © September 2004.

“A Tricky Balancing Act: Valuation and the Zone of Insolvency,” co-authored with James Berman,
       Esq. of Zeisler & Zeisler, PC, The National Law Journal, New York, NY, © February 16,
       2004.




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